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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                               (Jointly Administered)
                            Debtors.


                                           NOTICE OF SERVICE

        PLEASE TAKE NOTICE that, on May 7, 2021, the undersigned counsel caused a copy
of (i) Debtors’ Responses and Objections to First Request for the Production of Documents by the
Official Committee of Tort Claimants, the Coalition of Abused Scouts for Justice and the Future
Claims Representative to Boy Scouts of America and Delaware BSA, LLC, in Connection with
Estimation Proceedings and (ii) Debtors’ Responses and Objections to the Official Committee of
Tort Claimants, the Coalition of Abused Scouts for Justice, and the Future Claims Representative’s
First Set of Interrogatories to Boy Scouts of America and Delaware BSA, LLC, in Connection with
Estimation Proceedings to be served in the manner indicated upon the parties listed on Exhibit A
attached hereto.




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1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Dated: May 16, 2021           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                              ATTORNEYS FOR THE DEBTORS AND
                              DEBTORS IN POSSESSION




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                       Exhibit A

                      Service List
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BY ELECTRONIC MAIL

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